Case 2:05-cr-20121-BBD Document 27 Filed 07/22/05 Page 1 of 2 Page|D 30

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|N THE UN|TED STATES DISTR|CT COURT _ BY d

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UN|TED STATES OF~` AMER|CA am 09 ‘i*-"t "\lrillf’l'li$
Plaintiff

VS.
CR. NO. 05-20121-D

N|CHOLAS QUOTEZ CRAWFORD,
KENR|C JAVON HENN|NGS

Defendant.

 

oRDER oN coNTlNuANcE AND sPEciFYiNG PERloD oF ExcLqueLE DELAY
AND §_LTMQ

 

This cause came on for a report date on July 21, 2005. At that time, counsel forthe
defendant requested a continuance of the August 1, 2005 trial date in order to allow for
additional preparation in the case.

The Court granted the request and reset the trial date to October 3, 2005 with a

report date of Thursday, Segtember 22, 2005l at 9:00 a.m., in Cou rtroom 3 9th F|oor

 

of the Federa| Building, Memphis, TN.

The period from August 12, 2005 through October 14, 2005 is excludable under
18 U.S.C. § 3161 (h)(8)(B)(iv) because the ends of]ustice served in allowing for additional
time to prepare outweigh the need for a speedy tria|.

ir ls 80 oRDEREo this 0?5 day of July, 2005.

;§;§N|CE B. D§NALD §

UN|TED STATES DlSTR|CT JUDGE

This document entered on the docket she lays
with Ru|e 55 and/or 32(b) FFlCrP on 05_{ 2

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UNITED STATES DISTRICT COURT - WESTERN DISTRICT OF TENNESSEE

Notice of Distribution

This notice confirms a copy of the document docketed as number 27 in
case 2:05-CR-20121 Was distributed by faX, mail, or direct printing on
July 27, 2005 to the parties listed.

 

 

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Honorable Bernice Donald
US DISTRICT COURT

